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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 U NITED STATES OF AMERICA,                             Case No. 2:18-cr-94

                       Plaintiff,                       Judge Michael H. Watson

        vs.


 JOHN R. CACARO,

                       Defendant.


                     DEFENDANT'S SENTENCING MEMORANDUM


        Defendant John R. Cacaro, by and through undersigned counsel, hereby submits the

following Sentencing Memorandum for the purposes of mitigation and in accordance with those

relevant factors set forth by 18 U.S.C. § 3553 (a).

                                               ***



       Per the Court's order, this matter is set for a sentencing hearing at 10 a.m. on December

4, 2018 (Doc. 20.) The purpose of this Memorandum is to assist the Court in imposing a

reasonable sentence by explicating the unique factual predicate which underlies Mr. Cacaro's

admittedly unlawful conduct.

       As will be set forth more fully below, the facts and circumstances attendant to this

offense constitute an extraordinarily compelling basis for a downward departure and/or variance.

Not only will Mr. Cacaro tender full restitution at the time of his sentencing, but he made

significant (albeit partial) restitution before the investigation even began. He has voluntarily

wound down the corporate entity associated with this conduct and has suffered devastating

financial consequences as a result. Given these facts alone, a sentence of home incarceration

and/or a period of supervised release would still recognize the seriousness of the offense and
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  provide adequate general deterrence to the small pool of potential defendants who might be

  tempted to engage in such conduct.

             These facts, however, barely scratch the surface of the most persuasive rationale for

 departure/variance — namely, the immediate, catastrophic and unfair impact a sentence of

  incarceration would have on Mr. Cacaro's troubled immediate family. Mr. Cacaro's 35-year-old

 son suffers from severe developmental disabilities and requires round-the-clock care. Neither

 Mr. Cacaro's wife (who suffers from Grave's disease) nor the other adult son who resides with

 him (who is recovering from a heroin/opiate addiction) can meaningfully contribute to this care,

 either financially or in terms of tending to his day-to-day physical needs. Most days, these

 responsibilities fall to Mr. Cacaro and Mr. Cacaro alone.

            In the final analysis, no societal or policy interest will be served by incarcerating Mr.

 Cacaro. He admitted to his conduct from the start and has done what he can to remedy it. Mr.

 Cacaro respectfully requests that the Court craft an appropriate, non-custodial sentence which

 both recognizes the seriousness of the offense while recognizing the unique familial burdens he

shoulders on a daily basis.

                      NATURE AND CIRCUMSTANCES OF THE OFFENSE

            On June 5, 2018, Mr. Cacaro pled guilty to one count of Wire Fraud (18 U.S.C. § 1343

and 2) and one count of Money Laundering (18 U.S.C. § 1957 and 2). Both are Class C felonies

as set forth in the United States Code.

            Mr. Cacaro has always acknowledged the wrongfulness of his conduct, and the plea

negotiations largely consisted of ascertaining a fair and accurate restitution number. The final




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  agreed amount is $425,246.58.! Mr. Cacaro has liquidated his personal and business real estate,

  and will be in a position to tender full restitution in that amount at his sentencing hearing.

             The precise nature of Mr. Cacaro's unlawful conduct is straightforward: He caused his

  now-defunct company (Employers Choice Plus LLC)to underpay premiums to the Ohio Bureau

  of Worker's Compensation ("BWC") in a fruitless effort to cover up the serial mismanagement

  of its clients' funds.

            Mr. Cacaro's company was recognized as a Professional Employer Organization("PEO")

 under Ohio law. PEOs serve as third-party administrators for small-to-mid-size companies which

 cannot afford their own human resources or payroll functions. In many cases, PEOs also

 interface with state worker's compensation and unemployment agencies on behalf of their

 clients. Over a two-year period, Mr. Cacaro directed company officials to under-report (and thus

 underpay) the BWC premiums due on behalf of five of his clients. While these five companies

 were assuredly (and regrettably) inconvenienced by the investigation, the sole victim in this case

 for purposes of restitution is the BWC.

            The Money Laundering count stems not from any direct or unusual deposit of ill-gotten

funds to Mr. Cacaro's accounts, but from his continual salary draws and pre-planned purchases

during this period of underreporting. This particular breed of wire fraud did not involve separate

 unlawful conduct, but was a natural and necessary consequence of Mr. Cacaro "keeping up

appearances."

            While the statutory violations set forth in the Plea Agreement were indeed

straightforward, the facts and circumstances attendant to them were anything but. Indeed, they



I While this may seem unusual in an adversarial proceeding such as this one, both undersigned counsel and Mr.
Cacaro would like to extend their sincere appreciation to Assistant United States Attorney Jessica H. Kim and her
entire team for the fair and even compassionate manner in which they conducted this investigation. Likewise,
                                                                                                              U.S.
Probation Officer David J. Ackermann afforded Mr. Cacaro great respect and dignity throughout the
                                                                                                       Presentence
Investigation process, and his professionalism meant a great deal to all concerned.
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  are complex, sad and portray Mr. Cacaro in a very different light than does the bare plea

  language. This is ultimately a tale of desperation in which Mr. Cacaro robs Peter to pay Paul, not

  the work of a criminal mastermind hatching an unlawful scheme designed to gratuitously line his

  pockets. The following facts and circumstances are offered by way of mitigation, but not excuse,

  and in accordance with the considerations embodied in 18 U.S.C. § 3553 (a)(1):

            • Mr. Cacaro was under almost unimaginable personal and financial duress at the

 time he ordered the underpayments.

            In the spring of 2012, Mr. Cacaro's life was turned upside down by circumstances wholly

 beyond his control. His wife Patricia (to whom he has been married for 39 years) had what

 appeared to be a series of heart events which left her bed-ridden. In June of that year, she was

 diagnosed with Grave's Disease, a potentially fatal autoimmune condition which causes heart-

 attack-like symptoms in those it afflicts. She experienced several additional -thyroid storms" due

 to the condition, causing severe chest pain, skin problems, rapid weight loss and extreme fatigue.

 The disease is genetic in origin and there is no known cure.

            During this period, Mr. Cacaro's college-age son Corey went missing. In late 2012, the

family discovered that he suffered from an all-consuming heroin addiction. What followed is

familiar to any family so situated — a revolving door of failed attempts at sobriety, in-patient

treatment facilities, petty theft, near-homelessness and endless recrimination. Corey, now 23

years-old, is now nine months sober and resides full-time with his parents in their new home in

Mason, Ohio.

            These events notwithstanding, life was already stressful for Mr. Cacaro. His middle son,

John Ross Cacaro, has never left home. At age 35, he is simply unable to take care of himself.

His severe developmental disabilities (both mental and physical) have rendered him unable to



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  speak or perform most basic functions relating to self-care, including feeding himself.` The

  Cacaros long ago adapted their lives to providing for his every need, but the burden now falls

  almost exclusively on Mr. Cacaro.3 As the Presentence Report correctly indicates, Mr. Cacaro

  and John Ross enjoy an incredibly close bond, one borne by Mr. Cacaro's practice of taking his

 son to work with him every day so he can better tend to his constant needs.

            It was in this context that Mr. Cacaro first learned that his company had underpaid

 approximately $800,000 in worker's compensation "carve out" premiums for its clients. Mr.

 Cacaro precisely learned of this shortfall in January, 2013. Based upon Mr. Cacaro's

 investigation, the problem arose due to his new Chief Financial Officer's misunderstanding and

 misapplication of the relevant formula for calculating the amount of client premiums to be

 withheld for subsequent distribution to the BWC (embezzlement was suspected but never

 proven). After the BWC's investigation began, Mr. Cacaro was shocked to discover that two

 significant premium payments had been missed altogether. Regardless, Employers Choice Plus

 had taken funds from his clients for worker's compensation premiums. and had instead spent

those funds on a swelling payroll and other company expenses. Based upon the preliminary

 numbers, Mr. Cacaro mistakenly thought his company was having a banner year.

            None of these facts and circumstances excuse the conduct to which Mr. Cacaro has

admitted. The context they provide, however, is important and revealing. Mr. Cacaro was faced

with a Hobson's choice — self-report the shortfall to the BWC (and see his company immediately

stripped of its PEO designation and forced out of business) or under-report his respective clients'



2 John Ross Cacaro suffers from a battery of ailments in addition to his developmental disabilities. He has been
diagnosed with autism, type-2 diabetes, high blood pressure and a seizure disorder. Due to his disabilities, Mr.
Cacaro monitors his sugar levels and is exclusively responsible for administering the various medications he must
take through each day. He also has to prepare all of his food and ensure that he is timely fed.

3 John Ross Cacaro is unable to tend to his personal hygiene due to his lack of fine motor
                                                                                           skills. Consequently, Mr.
Cacaro bathes and shaves him each morning, and even has to brush his teeth.
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  premium liability and hope to somehow make up the difference later. Mr. Cacaro chose the

  latter, unlawful course and thus stands before this Court awaiting his sentencing.

            •Mr. Cacaro tried to rectify the underpayment before the investigation began.

            Undersigned counsel has practiced law for 20 years without encountering the undisputed

 fact present in the case at bar: Mr. Cacaro undertook efforts to pay back the under-reported

 premiums before this investigation even began. More than any other fact, this attempted (and

 partially successful) repayment of the premiums speaks to the bumbling and one-time nature of

 Mr. Cacaro's conduct.

            It is uncontested that 2013 and 2014, Mr. Cacaro filed "amended payroll reports" in

 which he attempted to make up for some of the previously under-reported premiums. While

 these reports were also inaccurate, they were, amazingly, inaccurate to the benefit of the Bureau.

 During this same period, Mr. Cacaro took other actions to save the company, cutting payroll by

40 percent, selling its real estate and slashing salaries (including his own). Mr. Cacaro will tell

 the Court that he was anxious with guilt over the underpayments, and he hoped that, in some

 way, his efforts to address them after the fact would reflect favorably upon him if and when his

actions were ever discovered.

            The restitution amount before the Court incorporates a significant offset for this partial

repayment. In fact, this calculation took up the bulk of the time in the plea negotiations

associated with this matter. This is hardly the work of a hardened criminal mind carrying out a

long-term criminal enterprise. Nothing speaks more loudly to Mr. Cacaro's character than the

guilt and shame which compelled him to make these partial repayments.




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               Mr. Cacaro immediately accepted responsibility.

             This investigation, like many others, began with the service of a subpoena duces tecum

  by federal authorities. Mr. Cacaro accepted service personally, and made incriminating

 statements out ofthe gate. In fact, he essentially admitted the conduct at the time of service.

             Mr. Cacaro will tell the Court during his sentencing hearing that he was actually relieved

 to learn of the investigation, and that he welcomed the chance to try and render some

 recompense for his misdeeds. While he did not immediately apprehend that the consequences

 would be criminal in nature, he did immediately accept responsibility, fully cooperate with the

 investigation and provided timely notice to the United States of his intention to enter a guilty

 plea. This full acceptance of responsibility is reflected in the Presentence Investigation Report,

 which correctly accords Mr. Cacaro the full three points' credit available under U.S.S.G §§

 3E.1(a) and (b).

            • The conduct underlying the Money Laundering conviction is not the worstform of

the offense.

            In May, 2013, Mr. Cacaro purchased a 2014 Allegro motor home. The down payment

involved $11,000 in company proceeds. By this point, the underpayments had already occurred

and the company's legitimate funds were commingled with funds which should have been paid

on behalf of various Employers Choice Plus customers.

            While there can be no excusing this expenditure, it is worth noting that Mr. Cacaro's

intent was far from nefarious. The motor home was intended for use on family trips for his ailing

wife and sons. Indeed, they undertook several cross-country journeys in the motor home — trips

which greatly contributed to the respective healing processes of all involved. Again, these facts

are proffered to provide context and color, not absolution. Mr. Cacaro indisputably and

admittedly withdrew and spent tainted funds. He did not, however, secret those funds away to an

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  offshore account. Both the amount and the nature of the expenditure were modest and in keeping

  with Mr. Cacaro's unfortunate story — that of a beleaguered husband and father who was, at the

  time ofthis offense, being pushed daily to his emotional limits.

                   HISTORY AND CHARACTERISTICS OF JOHN R. CACARO

            Pursuant to U.S.C. § 3552(a)(I), this Court must consider the personal history and

 characteristics of the Defendant. While much of this information is inextricably intertwined with

 the nature and circumstances of the offense as set forth above, there are still compelling aspects

 ofJohn Cacaro The Person which this Court should take into account prior to sentencing.

            Perhaps most importantly, Mr. Cacaro has lived his 59 years as an otherwise-law-abiding

 citizen. He has no criminal record of any kind, save for minor traffic offenses. He has been long

 active in his church (St. Joseph's Catholic Church in West Chester, Ohio) and has raised four

 adult children, two of whom still live with him due to their difficult personal circumstances.

            He graduated from Madeira High School in Madeira, Ohio (a small community northeast

 of Cincinnati proper) and studied business at Xavier University for several years before leaving

 to take his first job in the employment industry. As noted supra, he has been married to his wife

Patricia since June 9, 1979. He is also partially responsible for the care of his elderly mother,

Rita Cacaro, who lives in the Cincinnati area.

            As noted supra, Mr. Cacaro has long been burdened with singularly unique and difficult

familial responsibilities. Not only does he care for his ailing wife, but his son Corey continues to

reside with him. Mr. Cacaro is very active in his recovery from heroin/opioid addiction and the

treatment of his underlying mental health issues, which include bipolar disorder. His son John

Ross will require round-the-clock care due to his aforementioned severe developmental

disabilities for the rest of his life. Were Mr. Cacaro to be incarcerated, the impact on John Ross

would be particularly devastating.

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             The Cacaros now live in significantly diminished circumstances, their formerly affluent

  lifestyle a permanent casualty of Mr. Cacaro's conduct. Indeed, these circumstances have even

 changed from the time of the drafting of the Presentence Investigation Report. They no longer

 reside in the five-bedroom West Chester residence described in that report, and instead live in a

 three-bedroom rented ranch home in Mason, Ohio. They were forced to sell their home, as well

 as their commercial property, due to the closure of Employers Choice Plus and the need to raise

 funds for the restitution and fines associated with the instant Plea and Information.

            Despite these allegations, Mr. Cacaro remains beloved by his employees. As Exhibits A

 through D indicate, he repeatedly went above and beyond for his employees who were mobilized

 and/or deployed as reservists, and routinely provided benefits in excess of what was required by

 applicable law.

            It is also relevant that Mr. Cacaro was a successful businessman who created many high-

 paying jobs through his various entrepreneurial activities. With the notable exception of the

charged conduct, Mr. Cacaro was regarded as a pillar of the small West Chester business

community, the kind of man who would be asked to mentor other fledgling upstart businesses.

Exhibits E through G provide a representative example of his impact on his colleagues. His

decades of providing employment, growth and vitality to this growing part of Butler County

should not be overlooked.

            Lastly, and pertinently, Mr. Cacaro suffers from a battery of health conditions which,

while not life-threatening, would make a period of incarceration burdensome for all involved.

Paragraph 56 lays out an exhaustive list of Mr. Cacaro's medical conditions and prescribed

medications, but it should be noted for the purposes of this Memorandum that he is diabetic and

requires insulin shots thrice daily. He also cannot sleep without a continuous positive airway



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  pressure (CPAP) machine. These are conditions for which he will be treated on a daily basis for

  the rest of his life.

             In sum, Mr. Cacaro is a good man who did a bad thing. During the past five years, he has

 faced every kind of personal crisis imaginable. The incredible stress associated with these events

 — disease, addiction, round-the-clock care for a disabled child — must be taken into account when

 assessing an appropriate sanction. At the end of the day, his unlawful conduct primarily

 consisted of an effort to cover up missteps by his employees -- and never involved an affirmative

 scheme to create and retain ill-gotten wealth.

                               NEED FOR THE SENTENCE IMPOSED

            This Court is well-aware of that 18 U.S.C. § 3553 (a) (2)(A)—(D) requires the

 consideration of various factors which assess the objective need for the sentence rendered. These

 concerns range from remediating the specific conduct to the societal import (and policy

 prerogative) of general deterrence.

            Mr. Cacaro respectfully submits that, when applying these factors, the Court should

 review United States v. Musgrave, 647 Fed. Appx. 529(6th Cir. 2016). In Musgrave, the Sixth

Circuit ultimately affirmed a sentence of one day of incarceration (for processing), 24 months of

home incarceration, five years of supervised releases and a substantial fine for a similarly-

situated "white collar" defendant. While Musgrave involved a much more elaborate scheme (and

$1.7 million in losses), the principles underlying the decision merit strong consideration given

the multiple factual analogues between the two cases.

            For instance, 18 U.S.C. § 3353 (a)(2)(A) requires the sentencing court to hand down

sanctions which recognize the "seriousness of the offense, to promote respect for the law, and to

provide just punishment for the offense." In Musgrave, the Court allowed that the inherently

"serious" nature of any fraud may be tempered by the factual circumstances attendant to the

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  offense. As in United Slates v. Howe, 543 F.3d 128, 133 (3d Cir. 2008)(cited in Musgrave), Mr.

 Cacaro's unlawful conduct stemmed from a single impulse but was carried out over many

  months. Mr. Cacaro's conduct harmonizes with that which was at issue in Musgrave in another

 important respect — his crime was less about "lining his pockets" than about keeping a struggling

 business afloat. While we in no way suggest that these circumstances render Mr. Cacaro's

 conduct noble, they certainly go to the mitigating circumstances which inform it. Mr. Cacaro's

 conduct was admittedly "serious," and gravely so. In fairness, however, Mr. Cacaro mitigated

 that seriousness at every turn with his full cooperation and ex post .facto efforts to remedy his

 wrongdoing.

             18 U.S.C. § 3353 (a)(2)(B) addresses the need for a sentence to "afford adequate

 deterrence to criminal conduct." Indeed, it was the government's concern with so-called "general

 deterrence" which served as the basis for its Musgrave appeals. In this matter, the purposes of

 general deterrence have already been well-served. As is its wont, the United States has

 publicized Mr. Carcaro s guilty plea far and wide. New stories derived from a Department of

Justice press release ran in all major Ohio media markets; even the local newspaper in Naples,

Florida (where the Cacaros own a vacation home) published several column inches about Mr.

Cacaro's misconduct. Regardless of the Court's ultimate sentence, Mr. Cacaro has already been

publicly castigated as a -poster child" for workers compensation premium misuse and abuse.

Moreover, a sentence involving home incarceration, supervised release, restitution or a fine

would surely serve as a strong warning for anyone contemplating similar conduct. As the

Musgrave court noted, such sanctions impose a substantial limitation on a person's liberty,

especially for a first-time, older defendant like Mr. Cacaro.

            It must also be noted that the pool of potential defendants to be deterred is a small one.

Mr. Cacaro's wrongful conduct was highly specific and could only be carried out by an

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  individual who leads a PEO. That is, very few members ofthe general public would ever be in a

  position to collect and under-report large amounts of workers compensation premiums. Mr.

  Cacaro respectfully submits that his case has already served a deterrent purpose, and that his

 experience now stands as the premier cautionary tale within his former industry.

             Given the facts of this case, the remaining factors have limited applicability. 18 U.S.C. §

 3353 (a)(2)(C) requires the Court to consider whether its sentence will "protect the public from

 further crimes of the defendant." No party to this cause can seriously contend that Mr. Cacaro,

 awash in contrition and cooperation, would ever engage in similar conduct in the future. More

 importantly, his doing so would be a practical impossibility. He has wound down his company

 and has no vehicle through which to perpetrate similar misconduct. 18 U.S.C. § 3353 (a)(2)(D)

 demands that the Court provide the defendants "with needed education or vocational training,

 medical care or other correctional treatment in the most effective manner." At age 59, Mr.

 Cacaro is not in need of additional educational or vocational training. He is, however, in need of

 ongoing medical care, and the ability of the Bureau of Prisons to manage that care is

 questionable. At a minimum, his incarceration would needlessly burden an already-stressed

system.

            At the end of the day, the 18 U.S.C. § 3353 (a)(2) factors, as applied to these facts, do

not militate toward a custodial sentence. The Court has other tools at its disposal which are more

than adequate to punish the admitted conduct and deter those who might be considering such

misdeeds.

                               GUIDELINES AND 18 U.S.C.§ 3553(a)

            As the Court is well-aware, it must consider whether the facts — taken as a whole and as

applied to the 18 U.S.C.§ 3553 (a) factors — warrant a sentence outside the advisory guideline



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  system. Gall v. United States, 552 U.S. 38, 51 (2007). In this post-Booker world, the Court

  possesses more discretion than ever before to grant a variance from the Guidelines.

            The U.S. Probation Department has correctly calculated that, based upon the offense and

  attendant facts, Mr. Cacaro's conduct merits a Total Offense Score of 17 and a Criminal History

  Category of One. The recommended sentence is 18 months, which indeed already constitutes a

  variance from the Guidelines.

            That said, the atypical facts of this case yield a strong argument for a further variance and

 a non-custodial sentence. 18 U.S.C. § 3553(a)(4) requires that this Court consider the Guidelines

 range as a starting point. It must be noted, however, that the United States has not requested an

 agreed sentence in this case and that the U.S. Probation Department, in recognition of both Mr.

 Cacaro's early and complete acceptance or responsibility and unusual family obligations, has

 already indicated that a variance from the Guidelines range is appropriate. Given this context,

 Mr. Cacaro respectfully submits that the real question before the Court is how great the variance,

 and whether non-custodial options should indeed be on the table.

            It is also noteworthy that the remaining relevant 18 U.S.C. § 3553(a) factors weigh in

favor of further variance and non-custodial sanctions. The 18 U.S.C. § 3553(a)(6) consistency

requirement is often cited by the United States as statutory basis for custodial sentencing in

"white collar" cases, the argument being that more lenient sentences set the bar too low. Mat

said, the Musgrave holding again provides instructive and contrary guidance. The district court

in that case noted that nearly one-third of"white collar" defendants — both nationally and in the

Southern District of Ohio — receive some form of home incarceration. Musgrave at 538. The very

nature of "white collar" offenses — with their varying amounts of loss and shifting levels of

culpability — render consistent sentencing difficult-if-not-impossible. In this case, the facts are so



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  specific to both the defendant and the discrete industry involved that almost any sanction would

  arguably be consistent.

             Similarly, 18 U.S.C. § 3553(a)(7) directs courts to consider "the need to provide

  restitution to any victims of the offense" when pondering an adequate sentence. While U.S.S.G.

  § 5H1.10 bars the consideration of "socioeconomic status" in sentencing, it does not moot the

  plain requirements of 18 U.S.C. § 3553(a)(7). In this case, Mr. Cacaro not only paid a portion of

 the restitution pre-investigation, he has moved heaven and earth to come up with the agreed-

 upon balance at the time of his sentencing. His good faith efforts in this regard should be

 accorded some weight in deciding whether to vary further from the Guidelines.

                                KINDS OF SENTENCES AVAILABLE

            Tthe Court is likewise obligated to at least consider all of the possible sentencing options

 at its disposal. Under the Guidelines, incarceration with the Bureau of Prisons is indeed an

 option. Straight probation, absent a downward departure/variance, would not be at the Court's

 disposal absent a downward departure.

            An order of restitution is certainly de rigueur in cases such as this one, but full payment

 will be made at sentencing, rendering such an order a formality. Fines may range from $10,000

to $250,000. Likewise, home incarceration, followed by a period of supervised release, remains

an option for the Court.

            Mr. Cacaro respectfully requests that the Court limit its ultimate sentence to some

combination of the non-custodial options set forth above. While his ability to pay a large fine

will be somewhat limited, he does intend to continue working if he is not incarcerated. Home

incarceration would indeed pose a burden, but it is a burden he is more than willing to bear

should the Court so order. A custodial sentence, as set forth exhaustively above, would be an



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    absolutely devastating event for both Mr. Cacaro and his family. More importantly, the 18

    U.S.C. § 3553(a) factors can be readily satisfied without a custodial sentence.4

                                                CONCLUSION

            For the reasons state above, Mr. Cacaro respectfully requests that the Court grant a

    downward variance and enter an appropriate non-custodial sentence. Such a sentence would

    comport with the policy considerations underlying 18 U.S.C. § 3553(a), adequately punish this

    conduct and deter any others so inclined.




                                                               Respectfully submitted,

                                                               /s/ Steven P. Goodin
                                                               Steven P. Goodin (0071713)
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                                                               Cincinnati, OH 45202
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                                                               sgoodin@graydon.law



                                     CERTIFICATE OF SERVICE

        I hereby certify that on November 20, 2018, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to all parties by operation of the Court's
electronic filing system.
                                                            /s/ Steven P. Goodin
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4 Should the Court order a term of incarceration, Mr Cacaro respectfully requests the privilege of
                                                                                                   self-turn and
designation to the camp facility nearest his home with appropriate medical facilities.
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                                                      UNDER THE SPONSORSHIP OF


                                           REPRESENTATIVES MARGARET K. CONDITT
                                           TIMOTHY DERICKSON - COURTNEY COMBS


On behalf ofthe members of the House of Representatives of the 129th General Assembly of Ohio, we are pleased to congratulate

                                                   EMPLOYERS CHOICE PLUS,INC.

on launching the Enhanced Community Partnership Program.
                                                                                                                                     service to
Employers Choice Plus, Inc., is deserving of high praise, for since its establishment, it has attained a remarkable record of
                                                                               Program    to  support  others through   a  variety of outreach
the area. The company launched its Enhanced Community Partnership
                                          to  U.S. military personnel  stationed overseas,   and its inception is a justifiable source of pride
efforts, including sending care packages
                     reflection not only on  the organization  itself but also on its astute  management,   on  its hard-working   employees,
and  an  outstanding
and on the community.
                                                                                                                              have earned
Employers Choice Plus, Inc., has enhanced the quality of life within the surrounding area, and its generous contributions
                                                       that as this worthy agency maintains its dedication to service, it will continue in
it the gratitude and respect of many. We are certain
the tradition of excellence that has become its hallmark.
                                                                                                               for ongoing
Thus, with sincere pleasure, we commend Employers Choice Plus, Inc., on its new program and extend best wishes
success.




     Representative Margaret K. Conditt                                                           WILLIAM G.B TCHELDER
                                                                                                                 SPEAKER
             House District 55                                                                         OHIO HOUSE OF REPRESENTATIVES




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     Representative Timothy Derickson
             House District 53                                                                              House District 54
          Office of the Secretary of Defense
  EMPLOYER SUPPORT OF THE GUARD AND RESERVE
                                             RECOGNIZES


                                           John Cacaro
                                     Employers Choice Plus

                                                AS A                        EMPLOYER SUPPORT OF
                                                                            THE GUARD AND RESERVE


                                     PATRIOTIC EMPLOYER

                FOR CONTRIBUTING TO NATIONAL SECURITY AND PROTECTING
               LIBERTY AND FREEDOM BY SUPPORTING EMPLOYEE PARTICIPATION
                    IN AMERICA'S NATIONAL GUARD AND RESERVE FORCE


                                                                                                       ALL-STATE LEGAL



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                           ABOVE AND BEYOND AWARD
                                                                 TO


                                              Employers Choice Plus
                                     PRESENTED ON BEHALF OF THE MEN AND WOMEN OF THE NATIONAL
                                 G UARD AND RESERVE FORCES, FOR OUTSTANDING SERVICE AND CONTINUING
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                                                   UNDER THE SPONSORSHIP OF


                                         REPRESENTATIVES MARGARET K. CONDITT
                                         TIMOTHY DERICKSON - COURTNEY COMBS


On behalf of the members of the House of Representatives of the 129th General Assembly of Ohio, we are pleased to extend special
recognition to

                                                           JOHN CACARO

on receiving the Patriot Award from the U.S. Department of Defense and the Employer Support of the Guard and Reserve,
May 31, 2012.

You are a remarkable individual, for you have combined civic concern and dedication with the utmost professionalism to become a
dynamic leader in the community. The owner of Employers Choice Plus, you have admirably supported your employee,
Bryan J. Moore, who serves in the Ohio Army National Guard, and through your unfaltering devotion to service and achievement, you
have distinguished yourself as a conscientious and hard-working Ohioan.

Willingly giving of your time, energy, and abilities far beyond what was required or expected, you have striven to better the world
around you, and you have earned the respect and esteem of colleagues, employees, and the community alike. We are certain that in
the years to come, you will continue to display the same unwavering commitment to excellence for which you have become known,
and you are truly deserving of high praise.

Thus, with sincere pleasure, we commend you on your recent accolade and salute you as one of Ohio's finest citizens.




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   Representative Margaret K. Conditt                                              •)=,    WILLIAM G.B TCHELDER
           House District 55                          somaify
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    Representative Timothy Derickson                                                         Represen we Courtney Combs
            House District 53                                                                      House District 54
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                                    PREMIER CONSTRUCTION CO.
                                        Lumber ® Trusses • Carpentry                  Fax (513) 874-4893
Ph (513) 874-2611
                                            9361 Seward Road
                                            Fairfield, Ohio 45014




            Dear Judge Watson,

                I am writing to you on behalf of John Cacaro who will be appearing in
                                                                                     He
            your court. I have known John and his wife Trish since the early 1980's.
            has been a kind family man and a neighbor that is well liked and trusted in
            the neighborhood. My family and his have shared many relaxing
            memorable times together..

                John and his company ECP have had a major impact on my business,
            Premier Construction, by fighting bogus and mitigating workers comp
            claims. I am in the lumber supply business and'Managing the labor force is
            sometimes a challenge. His- advice and professional help has-helped my
            b usiness survive. Honesty and integrity are traits that I have found in John
            for many years. I recommended him to my,friends in the past and I will do
            the same in the future. Mistakes have been made and I am certain that
            John Cacaro will learn from them and continue to be an outstanding
            individual.

                                                                       Sin   rel

                                                                        Jan Gilke
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 Office Equipment I Document Automation i Technoiogy SoRitions




November 20, 2018



Dear Judge Watson:

I have known John Cacaro for about 18 years. I first met John when our sons both attended the same
pre-school. My son had befriended John's son Corey, which started a friendship between our families
that has lasted ever since. Shortly after our introduction I began performing IT support for John's
company, Employers Choice Plus, and have continued to work with him as an IT consultant to this day.

I have always believed (and still do)that John is an honest and sincere person. He has always been
willing to go above and beyond to help those in need and has treated me, as well as those that work for
him, fairly and with respect. As his IT consultant I became very familiar with his business and his
employees. I have always respected John, not only for his success in business, but how he treated his
employees and made them part of his family. There are many examples over the years where he has
helped employees with through tough times with personal or financial issues. That is rare in today's
world. I have always trusted and believed in John, as a friend, as a business associate, and as a good
person.

I hope this letter conveys my belief in John's character and ethics.



Sincerely,




Jeffrey Loeb
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                                      Brian S. Kammer
                                   6790 Hawthorn Knoll
                                  Liberty Twp., OH 45011


 November 20, 2018

The Honorable Judge Michael H. Watson
U nited States District Court
Joseph P. Kinneary U.S. Courthouse, Room 109
85 Marconi Boulevard
Columbus, OH 43215

RE: John R. Cacaro

Dear Judge Watson,

I have known John for over eight years. I am currently John's controller for Employers Choice
Plus, WorkStar Health Services, Tylers Place Consulting, Car Couriers, and J Ross X. John and I
have worked very closely together over the years, and continue to do so today.

John has been a boss, mentor, and friend during the time I have known him. As a boss, he has
treated me with fairness, honesty, and respect. He has been a man that I have felt comfortable
going to with any issue that I may have. I have the upmost respect for how he treats his
e mployees, customers, and vendors. He has always been forthcoming with everyone around
him. John has also been my biggest mentor in the business world. He has taught me so many
valuable lessons, and I could not be more appreciative. He has encouraged me to learn,
supported me when times were tough, and helped me understand the intricacies of his
businesses. I have learned more from John than anyone else in my career. Lastly, and most of
a l l, John has been a friend - not only to myself, but my family. He has helped me have a wonderful
work/life balance, and ALWAYS asks about my wife and child. He has stressed to me that family
is a very important part of his life. I have been fortunate enough to see John's patience,
generosity, faith, and his deep care for everyone around him.

I n closing, I want to express that I have the highest respect for John Cacaro. I truly believe that
he is an honest, caring, and faithful person with undeniable character.

Sincerely,




Brian S. Kammer
